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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION




                Plaintiff(s),

 v.                                                      Case No.




            Defendant(s).
 ______________________________________

                                   CASE MANAGEMENT REPORT

        The parties have agreed on the following dates and discovery plan pursuant to

 Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):


                       DEADLINE OR EVENT                               AGREED DATE
  Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.
  26(a)(1))
  [Court recommends 30 days after CMR meeting]

  Certificate of Interested           Persons      and     Corporate
  Disclosure Statement
  [all parties are directed to complete and file the attached]

  Motions to Add Parties or to Amend Pleadings
  Disclosure of Expert Reports
  Plaintiff:
  Defendant:
  Discovery Deadline
  [Court recommends 5 months before trial to allow time for
  dispositive motions to be filed and decided; all discovery must be
  commenced in time to be completed before this date]

  Dispositive and Daubert Motions
  [Court requires 4 months or more before trial term begins]
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                       DEADLINE OR EVENT                                     AGREED DATE
  Trial Term Begins                                                           (month, year)
  [Local Rule 3.05 (c)(2)(E) sets goal of trial within 1 year of filing
  complaint in most Track Two cases, and within 2 years in all Track
  Two cases; trial term must not be less than 4 months after
  dispositive motions deadline (unless filing of such motions is
  waived). Trials before the District Judge will generally be set on a
  rolling trial term toward the beginning of each month, with a Final
  Pretrial Conference to be set by the Court the preceding month. If
  the parties consent to trial before the Magistrate Judge, they will be
  set for a date certain after consultation with the parties]

  Estimated Length of Trial [trial days]
  Jury / Non-Jury
  Mediation
  Deadline:

  Mediator:
  Address:


  Telephone:

  [Mediation is mandatory in most Track Two cases; Court
  recommends either 2 - 3 months after CMR meeting, or just after
  discovery deadline; if the parties do not so designate, the Court will
  designate the mediator and the deadline for mediation. A list of
  certified mediators is available on the Court’s website and from the
  Clerk’s Office.]

  All Parties Consent to Proceed Before Magistrate Judge                   Yes____     No____
  If yes, the parties shall complete and all counsel and/or
  unrepresented parties shall execute the attached Form AO-85.



 I.     Meeting of Parties

        Lead counsel shall meet in person or, upon agreement of all parties, by telephone.

 (If all parties agree to conduct the case management conference by telephone, they may

 do so without filing a motion with the Court.) Pursuant to Local Rule 3.05(c)(2)(B) or

 (c)(3)(A), a meeting was held on ___________________ (date) at                         (time)   and

 was attended by:
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              Name                                           Counsel for (if applicable)

 _______________________________________             _________________________________

 _______________________________________             _________________________________

 _______________________________________             _________________________________

 II.    Preliminary Pretrial Conference

        Local Rule 3.05(c)(3)(B) provides that preliminary pretrial conferences are

 mandatory in Track Three cases.

        Track Two cases: Parties       (check one) [__] request   [__] do not request a preliminary

 pretrial conference before entry of a Case Management and Scheduling Order in this Track

 Two case. Unresolved issues to be addressed at such a conference include:

 ____________________________________________________________________

 ____________________________________________________________________

 ____________________________________________________________________

 III.   Pre-Discovery Initial Disclosures of Core Information

        Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

        The parties   (check one)   [__] have exchanged [__] agree to exchange information

 described in Fed.R.Civ.P. 26(a)(1)(A) - (D) on or by                          (date).

 IV.    Agreed Discovery Plan for Plaintiffs and Defendants

        A.    Certificate of Interested Persons and Corporate Disclosure Statement

        This Court makes an active effort to screen every case in order to identify parties

 and interested corporations in which the assigned judge may be a shareholder, as well as

 for other matters that might require consideration of recusal. Therefore, each party,

 governmental party, intervenor, non-party movant, and Rule 69 garnishee shall file and

 serve within fourteen (14) days from that party’s first appearance a Certificate of
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 Interested Persons and Corporate Disclosure Statement using the attached mandatory

 form. No party may seek discovery from any source before filing and serving a Certificate

 of Interested Persons and Corporate Disclosure Statement.                All papers, including

 emergency motions, are subject to being denied or stricken unless the filing party has

 previously filed and served its Certificate of Interested Persons and Corporate Disclosure

 Statement. Any party who has not already filed and served the required certificate is

 required to do so immediately. Each party has a continuing obligation to file and serve an

 amended Certificate of Interested Persons and Corporate Disclosure Statement within

 eleven days of 1) discovering any ground for amendment, including notice of case

 reassignment to a different judicial officer; or 2) discovering any ground for recusal or

 disqualification of a judicial officer. A party should not routinely list an assigned district

 judge or magistrate judge as an “interested person” absent some non-judicial interest.

        B.     Discovery Plan/Deadline

        The parties shall not file discovery materials with the Clerk except as provided in

 Local Rule 3.03. Parties should exchange discovery in the most efficient way, which

 usually means electronically. In propounding and responding to discovery, the parties are

 directed to consult and comply with the Federal Rules of Civil Procedure, the Local Rules

 of the United States District Court for the Middle District of Florida, and the Middle District

 of   Florida’s    Discovery     Handbook,       available    on    the     Court's   website:

 www.flmd.uscourts.gov/forms/Civil/2015-Civil_Procedure_Handbook.pdf. Each party shall

 timely serve discovery requests so that the rules allow for a response prior to the discovery

 deadline. The Court may deny as untimely all motions to compel filed after the discovery

 deadline or those that fail to comply with the meet and confer requirements contained in
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 Local Rule 3.01(g). The Court notes that the words "confer" and "good faith" contemplate

 the parties will exchange thoughts and arguments to try to resolve an issue and will not

 simply engage in unilateral noticing that a motion will be filed. In addition to agreeing to

 comply with the above, the parties agree as follows:

 _____________________________________________________________________

 _____________________________________________________________________

        C.     Confidentiality Agreements/Motions to File Under Seal

        Whether documents filed in a case may be filed under seal is a separate issue from

 whether the parties may agree that produced documents are confidential. The Court is a

 public forum, and disfavors motions to file under seal. The Court will permit the parties to

 file documents under seal only upon motion and order entered under Local Rule 1.09.

        The parties may reach their own agreement (without Court endorsement) regarding

 the designation of materials as “confidential.”     The Court discourages unnecessary

 stipulated motions for a protective order. The Court will enforce appropriate stipulated and

 signed confidentiality agreements. See Local Rule 4.15. Each confidentiality agreement

 or order shall provide, or shall be deemed to provide, that “no party shall file a document

 under seal without first having obtained an order granting leave to file under seal on a

 showing of particularized need.” With respect to confidentiality agreements, the parties

 agree as follows: ______________________________________________________

 ____________________________________________________________________
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        D.     Disclosure or Discovery of Electronically Stored Information and

 Assertion of Claims of Privilege

        Pursuant to Fed.R.Civ.P. 26(f)(3), the parties have made the following agreements

 regarding the disclosure and discovery of electronically stored information as well as the

 assertion of claims of privilege or protection of trial preparation materials after production:

 ____________________________________________________________________

 ____________________________________________________________________

 V.     Mediation

        Absent a Court order to the contrary, the parties in every case will participate in

 Court-annexed mediation as detailed in Chapter Nine of the Court’s Local Rules. The

 parties have agreed on a mediator from the Court’s approved list of mediators as set forth

 in the table above, and have agreed to the date stated in the table above as the last date

 for mediation. The list of mediators is available from the Clerk, and is posted on the Court’s

 web site at www.flmd.uscourts.gov. If the parties do not so designate, the Court will

 designate the mediator and the deadline for mediation.

 VI.    Requests for Special Handling

        Requests for special consideration or handling (requests may be joint or unilateral):

 ____________________________________________________________________

 ____________________________________________________________________

 __________________________________________________________________
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 Date: _____________________

 Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
 Unrepresented Parties.

 ____________________________________________________________________

 ____________________________________________________________________

 ____________________________________________________________________

 ____________________________________________________________________
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                         CERTIFICATE OF INTERESTED PERSONS
                        AND CORPORATE DISCLOSURE STATEMENT

                 I hereby disclose the following pursuant to this Court’s
         interested persons order:

         1.)     the name of each person, attorney, association of persons,
         firm, law firm, partnership, and corporation that has or may have an
         interest in the outcome of this action — including subsidiaries,
         conglomerates, affiliates, parent corporations, publicly-traded
         companies that own 10% or more of a party’s stock, and all other
         identifiable legal entities related to any party in the case:

                      [insert list]

         2.)    the name of every other entity whose publicly-traded stock,
         equity, or debt may be substantially affected by the outcome of the
         proceedings:

                      [insert list]

         3.)     the name of every other entity which is likely to be an active
         participant in the proceedings, including the debtor and members of
         the creditors’ committee (or twenty largest unsecured creditors) in
         bankruptcy cases:

                      [insert list]

         4.)    the name of each victim (individual or corporate) of civil and
         criminal conduct alleged to be wrongful, including every person who
         may be entitled to restitution:

                      [insert list]

                 I hereby certify that, except as disclosed above, I am unaware
         of any actual or potential conflict of interest involving the district judge
         and magistrate judge assigned to this case, and will immediately
         notify the Court in writing on learning of any such conflict.

         [Date]                              _____________________________
                                             [Counsel of Record or Pro Se Party]
                                                  [Address and Telephone]
         [Certificate of Service]
